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           Exhibit 5
           7/3/2018 – Order Re: Contempt & Other Matters
           Along with two (2) examples of records which
           pertain to the subject matter of this lawsuit, which
           the City finally disclosed on 6/29/18 in order to
           avoid contempt sanctions.

           Rudd v. Norton Shores Michigan FOIA Litigation
           17-004334-CZ 14th Circuit Court, Hon. Timothy G. Hicks
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                              S TAT E O F M I C H I G A N

                                 IN THE 14th CIRCUIT COURT


                                              * * * * *
DANIEL W. RUDD,
                             Plaintiff,                   HON. TIMOTHY G. HICKS
v
                                                          File No. 17-004334-CZ
CITY OF NORTON SHORES,
                    Defendant.


Daniel Rudd                                               Lisa A. Hall (P70200)
In Pro Persona                                            Attorney for Defendant
201 S. Lake Ave                                           PLUNKETTCOONEY
Spring Lake, Ml 49456                                     333 Bridge St. NW, Ste. 530
231-557-2532                                              Grand Rapids, Ml 49504
                                                          616-752-4615
                                               /



              ORDER REGARDING CONTEMPT AND OTHER MATTERS
    The court held its hearing on June 29 and enters these orders, all for the reasons

noted on the record:

    1. The defendant delivered the required documents on June 29, so the court makes

       no finding of contempt, civil or criminal, relating to the defendant's submission of

       the citizen complaints.

    2. The court has conducted its review of the documents ordered in the May 3 order.

       It made some adjustments on the record, and now concludes the defendant has

       completed its obligations, as defined in that order.

    3. The May 3 order claimed that that was a final order which closed the case. This

       one, with the findings about the contempt and after reviewing the 600+ pages

       submitted, should be considered a final order which concludes this court's work.


                                          Page 1 of 2
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          IT IS SO ORDERED.



Date: July 2- , 2018
                                                           'Timothy G. Hicks, P'35198
                                                            Circuit Judge

                                                   CERTIFICATE OF MAILING
                                      <?t\0>
             hereby certify that on the Z.-^ day of July, 2018, I p_ersonally.mailed copies of this order to the parties above named


                                                                 IKjWOoi ( i n
at their respective addresses, by ordinary mail.


                                                            Autumn R, Ward ""Circuit Court
                                                            Judicial Secretary




                                                         Page 2 of 2
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   NORTON SHORES POLICE DEPARTMENT                                                                      Official Complaint
                                                                                                                         Pa°e 1

   Complainants Name                                               Control Number :
 ! Social Security Administration                                  LA-2016A2
   Address
                                                                   "Assigned Investigator ;;'■ :. '-;
   330 Ionia, suite 102, Grand Rapids                              .Lt. ■Michael Kasher -                    □ Inquiry
                                                                                                             □ Informal
                                                                                                             xD Formal -
   Phone Number / E-mail
                                                                   Reviewed/Assigned by:                     Date ;.:■
   616-45A4754                                                     J Gale,.                                 •io/i 4/2or6
  Date of Incident                 Time of Incident                Location of Incident
   10/20/2014                      12:19                           1427 w. Sherman
  Employee(s) Involved
  Michael Wasilewski




 Special Agent William C Brown stopped in to see me at NSPD on this date. He advised that he
 was assigned to investigate a possible LEIN violation involving Ofc. Wasilewski.

 The possible violation occurred on 10/20/2014. Ofc. Wasilewski used LEIN to check for
 warrants on a Pablo Fierro. Mr. Fierro at the time was wanted by the Social Security
 administration for Social Security Fraud. This information was not put into LEIN to avoid local
 officers from checking the status of Mr. Fierro. It is unknown why Ofc. Wasilewski checked Mr.
 Fierro through LEIN.

 Additionally, SA Brown advised that he had interviewed Mr. Adam Sobezak who was a previous
 business partner. Sobezak stated that the Fierro family had several officers who would check for
 warrants for Pablo.

Also, Pablo Fierro's daughter Elizabeth Melgarejo testified under oath in federal court regarding
officers running LEIN for the family. Her statement is as follows "We have a lot of officers that
work in the police department or government that would look for us because they wanted to
make sure that, you know, everything-if there was a warrant".

This investigation was requested by the United States Attorney A office and assigned to SA
Brown.

I have assigned this Internal Affairs complaint to Lt. Kasher.




NOTICE: This document is considered to be an official police report. Knowingly filing a false police report may be a
violation of Michigan Statute 750.411a.


 Complainants Signature                                                               Date


 Received by                                                 ID;                      Date /Time



                                                                                                                             tf9
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   NORTON SHORES POLICE DEPARTMENT
                                                                                    Official Complaint
                                                                                                Paee 1
   Complainants Name                                    Control Number
   Sgt Marvin Petty                                     IA 2014-C
   Address
                                                        Assigned Investigator
   Muskegon Heights PD                                  Ut. Jon Gale                      □ Inquiry
                                                                                          X Informal
                                                                                          □ Fonnal
   Phone Number / E-mail
                                                        Reviewed/Assigned by:             Date
                                                        DShaw
   Date of Incident            Time of Incident         Location of Incident
  4/15/2014
                                                        Muskegon County Building
  Employee(s) Involved
  Sgt. Matthew Rhyndress




  On April 17, 2014 at approx. 0900 hrs., I received a telephone from Chief Uynne Gill Muskegon
 Heights PD requesting a face to face meeting regarding a personnel matter. We agreed to meet at
 the Brew House.

 Chief Gill provided me with a memo sent to him by Sergeant Marvin Petty dated April 15 2014
 in which he summarizes contact with Sergeant Rhyndress earlier that day (see attached)
 Sergeant Petty states that Sergeant Rhyndress made verbal threats towards him in the Muskeaon
 County Building. Apparently, Sergeant Rhyndress was in the County Building for a hearing
 related             to           his          pending               divorce.             b

 Though Sergeant Rhyndress was not on-duty at the time of this reported incident the threats if
 accurate did imply retaliatory use of, or intentional withholding of, his law enforcement powers
 authorized by the City of Norton Shores. As such, this incident does impact the Norton Shores
 Police Department and must be investigated.

Assigned to Lieutenant Jon Gale for investi gation.

STATUS:

             OPEN, Pending Investigation.




Sfcfn JSISS^SSSSSJTS t0 ^ " 0fC
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                               i ' P0HCe reP°rt- Kn°Wn
                                                     i 9yl fn
                                                            il 9 a faS
                                                                     ' e P0"C
                                                                            ' e reP°rt m"* be '
 Complainants Signature                                                Date


 Received by                                      ID#                 Date /Time
